                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

GENE CHAMBERS, CHAPTER 7                        Case No.: 6:24-cv-00141-JSS-DCI
TRUSTEE FOR THE BANKRUPTCY
ESTATE OF ANGELA BORRERO,

       Plaintiff,

v.

PROGRESSIVE SELECT INSURANCE
COMPANY,

       Defendant.
                                            /

                         FIRST AMENDED COMPLAINT

      Plaintiff, GENE CHAMBERS, CHAPTER 7 TRUSTEE FOR THE

BANKRUPTCY           ESTATE      OF     ANGELA        BORRERO            sues   Defendant,

PROGRESSIVE SELECT INSURANCE COMPANY and states:

                       JURISDICTIONAL ALLEGATIONS

      1.     This action is a claim for damages that exceed Seventy-Five Thousand

Dollars ($75,000.00) exclusive of costs, interest and attorney’s fees.

      2.     Plaintiff, GENE CHAMBERS (“CHAMBERS”), is the duly appointed

trustee of the Bankruptcy Estate of Angela Borrero (“BORRERO”). Pursuant to the

May 4, 2023 Order Approving Employment of Special Counsel to Chapter 7 Trustee

entered in the United States Bankruptcy Court, Middle District of Florida, Trustee
CHAMBERS was authorized to employ the undersigned to prosecute the instant

matter. See Exhibit “A”.

         3.   Defendant, PROGRESSIVE SELECT INSURANCE COMPANY

(“PROGRESSIVE”), was and is an Ohio corporation headquartered in Cleveland,

Ohio doing business throughout Florida as an automobile insurance carrier.

                            FACTUAL ALLEGATIONS

         4.   On October 1, 2018, BORRERO was insured under automobile liability

policy #909386816-5 issued by PROGRESSIVE, having bodily injury limits of

$10,000 per person/$20,000 per occurrence and property damage limits of $10,000. A

copy of the policy is attached as Exhibit “B”.

         5.   On October 1, 2018, BORRERO was operating her vehicle on County

Road 435 in Apopka, Orange County, Florida when she negligently collided with a

2007 Harley-Davidson motorcycle being ridden by James Spalding (“SPALDING”).

         6.   As a result of the crash, SPALDING was severely injured, his motorcycle

was totaled, and his helmet was damaged.

         7.   The above-referenced policy was in full force and effect at the time of the

crash.

         8.   The above-described collision was an event covered by the terms of the

PROGRESSIVE policy described above, and BORRERO was afforded bodily injury

and property damage liability coverage under the policy.

         9.   BORRERO notified PROGRESSIVE of the crash on October 1, 2018.
      10.    After receiving notice of the crash, PROGRESSIVE undertook the

handling of the SPALDING claims against BORRERO and assigned separate

adjusters to handle the bodily injury and property damage claims.

      11.    On October 2, 2018, the property damage claim was assigned to

PROGRESIVE adjuster Amanda Cool a/k/a Amanda Ploski (“COOL”).

      12.    Also on October 2, 2018, the bodily injury claim of SPALDING was

assigned to PROGRESSIVE adjuster Jowanna Henry (“HENRY”).

      13.    HENRY’s initial claim note of October 2, 2018 indicates that

SPALDING’s left foot was amputated and he also sustained a fracture to his left arm.

      14.    On October 2, 2018, HENRY spoke with BORRERO by telephone.

During the initial call HENRY explained the claims process, advised BORRERO that

her bodily injury coverage limits were $10,000 per person and $20,000 per accident.

HENRY’s claim note documents she:




      15.    By October 3, 2018, HENRY’s notes reflect that the combination of what

appeared to be clear liability and catastrophic injury to SPALDING warranted a

proactive tender of BORRERO’s bodily injury limits.
      16.    On October 4, 2018, PROGRESSIVE supervisor Steven Wolford

(“WOLFORD”) received HENRY’s note and forwarded her request for a proactive

tender to “claims legal BTP for review.”

      17.    On October 5, 2018, Property Damage adjuster COOL called and spoke

with SPALDING’s father regarding the damage to the motorcycle. COOL’s note of

that date reflects that SPALDING’s motorcycle was likely a total loss.

      18.    On October 9, HENRY’s claim note reflects receipt of a letter of

representation from Dan Newlin and Partners (“NEWLIN FIRM”).

      19.    On October 10, 2018 PROGRESSIVE in house legal counsel Todd

Parnell (“PARNELL”) approved the proposed tender letter and release. Apparently

PARNELL is “BTP” as referenced in WOLFORD’s prior note.

      20.    Following PARNELL’s approval, HENRY overnighted a proactive

tender package including a settlement check and proposed release to the NEWLIN

FIRM.

      21.    On October 15, 2018, COOL contacted the NEWLIN FIRM and was

advised that “they have nothing to do with the PD”. COOL also noted that the

NEWLIN FIRM did not have a contact telephone number for SPALDING.

      22.    On October 15, 2018, Attorney Paul Perkins (“PERKINS”) sent a letter

of representation to PROGRESSIVE on behalf of SPALDING requesting pertinent

insurance coverage information regarding the BORRERO policy pursuant to Fla. Stat.

627.4137. See Exhibit “C”.
      23.    HENRY noted receipt of PERKINS’ letter of representation on October

18, 2018. Thereafter, HENRY contacted the NEWLIN FIRM to discuss the letter of

representation from PERKINS.

      24.    In a letter dated October 22, 2018, HENRY, advised PERKINS that the

BORRERO policy had bodily injury coverage with limits of $10,000 per

person/$20,000 per accident. The October 22 letter went on to state that Progressive

was offering to tender its $10,000 in bodily injury coverage in exchange for a release.

See Exhibit “D”.

      25.    HENRY’s October 22, 2018 letter acknowledged the need to resolve

SPALDING’s property damage claim in order to bring the case to a conclusion that

would include a release in favor of BORRERO.

      26.    HENRY’s letter of October 22, 2018 sent by overnight mail to PERKINS

on October 23, 2018.

      27.    Also on October 23, 2018, SPALDING sent a letter via Certified Mail

addressed to PROGRESSIVE property damage adjuster Amanda Polski (“COOL”).

See Exhibit “E”.

      28.    SPALDING’s October 23, 2018 letter was a time limited offer to resolve

his total loss property damage claim. SPALDING’S letter included a printout of the

Kelley Blue Book value of his motorcycle ($7,190.00), along with receipts and bank

statement charges showing the cost of aftermarket parts installed on the motorcycle

($2,187.52), and a receipt for his helmet ($250.00). The letter demanded payment of

$9,627.52 to settle SPALDING’s property damage claim “within 10 days”.
      29.    PROGRESSIVE received SPALDING’S October 23, 2018 demand

letter on October 25, 2018.

      30.    On October 26, 2018, COOL wrote SPALDING a letter in response

stating that PROGRESSIVE acknowledging SPALDING’s property damage demand

for $9,627.52. COOL conceded that PROGRESSIVE had accepted liability on behalf

of BORRERO. COOL’s letter went on to state that PROGRESSIVE had set up an

inspection of the motorcycle and would get the payoff from the motorcycle lienholder.

However, the letter did not advise when PROGRESSIVE would respond to

SPALDING’s time limit demand. See Exhibit “F”.

      31.    Following receipt of COOL’s October 26, 2018 letter, SPALDING

permitted PROGRESSIVE to send a representative to his home to inspect and

appraise the motorcycle on November 5, 2018. It is unclear whether COOL or

PROGRESSIVE asked SPALDING for an extension on his 10-day demand.

      32.    On November 7, 2018, PROGRESSIVE claims manager Cheryl Traylor

(“TRAYLOR”) entered a “File Intervention” note instructing COOL how to calculate

the total loss evaluation. TRAYLOR’s note does not reflect whether she was aware of

SPALDING’s October 23 property damage demand letter:
      33.    Later on November 7, 2018, COOL called SPALDING and left a

message for a return call “in regards to PD settlement”.

      34.    COOL then prepared and sent the following email to SPALDING’s

personal email address at 2:12 pm on November 7, 2018:




      35.    COOL’S email of November 7, 2018 expressly rejected SPALDING’s

October 23, 2018 written offer to settle his property damage total loss claim for
$9,627.52, instead offering just $7,874.83 for the value of the motorcycle plus an

additional $250 for the helmet.

      36.    After PROGRESSIVE rejected his property damage settlement offer,

SPALDING’s attorney filed a lawsuit against BORRERO on November 12, 2018.

SPALDING’s complaint included a count for his bodily injury claim and second count

for his property damage claim of $9,627.52. It does not appear that PERKINS sent

PROGRESSIVE a copy of the filed complaint. See Exhibit “G”.

      37.    On November 15, 2018 HENRY called PERKINS office to follow up on

the bodily injury tender. HENRY’s claim note of that date does not reflect that she

was aware of PROGRESSIVE’s express rejection of SPALDING’s property damage

demand.

      38.    On November 19, 2018 supervisor TRAYLOR’s claim file note

referenced the need to follow up with SPALDING on the total loss evaluation again

without noting that PROGRESSIVE had expressly rejected SPALDING’s property

damage demand of $9,657.52.

      39.    On November 27, 2018 TRAYLOR notes that she reviewed the file with

COOL, that the claim was now 57 days old and that SPALDING had not responded

to PROGRESSIVE’s counter-offer to his property damage demand. TRAYLOR

instructed COOL to send a total loss offer letter to SPALDING and if he did not

respond they would then send a “10 day close letter”.
      40.   On November 28, 2018, COOL (writing as “Polski”) sent SPALDING a

letter increasing PROGRESSIVE’s total loss settlement offer to $8,372.33 without

explanation or reference to his demand of $9,627.52: See Exhibit “H”.

      41.   On November 29, 2018, TRAYLOR notes she again reviewed the file

with COOL. TRAYLOR’s note reflects that SPALDING “has not responded to

accepting the TL offer yet”. TRAYLOR instructs COOL to “continue efforts for TL

resolution” without acknowledging the rejection of SPALDING’s total loss demand.

TRAYLOR’s note also fails to mention PROGRESSIVE’s proactive tender of

BORRERO’s bodily injury limits that was still pending with PERKINS.

      42.   On November 30, 2018, BORRERO contacted HENRY and advised her

that she had been served with suit documents from SPALDING. BORRERO emailed

HENRY the suit documents later that same day.

      43.   On December 3, 2018, WOLFORD reviewed the suit papers noting only

“rejected tender”. WOLFORD directed the claim file to be transferred to “a LVL 42

rep”. The same day, the file was transferred to Claims Specialist Lead Jason Gray

(“GRAY”).

      44.   GRAY’s initial file review of December 3, 2018 failed to recognize that

SPALDING’s property damage total loss offer had been rejected by PROGRESSIVE

instead noting incorrectly that PROGRESSIVE had made a total loss offer to

SPALDING and had received no response.
      45.    On December 3, 2018, GRAY received approval to retain defense

counsel David Evelev (“EVELEV”) to represent BORRERO.

      46.    On December 6, 2018, GRAY wrote PERKINS and stated that the

November 28, 2018 letter from COOL contained a “type-o” as it did not include

payment for SPALDING’s helmet, which PROGRESSIVE agreed was worth $250.

GRAY went on to state that PROGRESSIVE was still valuing the motorcycle at

$8,372.33. See Exhibit “I”.

      47.    GRAY’s December 6, 2018 letter fails to acknowledge SPALDING’s

October 22, 2018 letter offering to settle the property damage total loss claim for

$9,627.52. Instead, GRAY’s letter reiterated PROGRESSIVE’s rejection of

SPALDING’s $9,627.52 property damage demand of October 23, 2018. Id.

      48.    The following day, defense counsel EVELEV filed an Answer and

Affirmative Defenses to SPALDING’s Complaint. See Exhibit “J”.
      49.    On December 14, 2018, GRAY wrote PERKINS a letter that falsely

claimed that SPALDING’s bodily injury claim “was settled on October 22, 2018” and

demanded the return of an executed release. See Exhibit “K”.

      50.    GRAY wrote PERKINS again on December 27, 2018. Despite the fact

that the property damage count in SPALDING’s Complaint referenced the $9,627.52

demanded by SPALDING in his October 22, 2018 letter, once again GRAY failed to

acknowledge that PROGRESSIVE had expressly rejected SPALDING’s offer to settle

his total loss claim. Instead, GRAY states that he “wanted to clarify your current

demand to settle the property damage claim”. See Exhibit “L”.

      51.    On January 3, 2019, PROGRESSIVE’s claims attorney PARNELL

noted his review of the file and discussion with GRAY. PARNELL’s note incorrectly

summarizes the history of the claim stating: “We tendered the BI limit early on in this

case and extended multiple offers for the PD. There have been no demands.”

PARNELL directed GRAY to offer to pay the $9,627.52 in property damage alleged

in the Complaint “plus statutory interest of $46.84 since the date of our last offer, in

an effort to amicably resolve the PD claim.”
      52.    On January 3, 2019, Lead Claim Specialist GRAY wrote PERKINS

the following letter expressing the offer proposed by PARNELL:




See Exhibit “M”.

      53.    Curiously, GRAY’s January 3, 2019 letter falsely claims that he had not

had an opportunity to review SPALDING’s Complaint when he wrote his letter of

December 6, 2018.

      54.    Given PROGRESSIVE’s express rejection of SPALDING’s October 22,

2018 property damage demand and the subsequent correspondence from GRAY that:

(i) first, reiterated PROGRESSIVE’s rejection of SPALDING’s total loss offer; (ii)

second, falsely claimed the bodily injury claim was settled on October 22, 2018; (iii)

sought to clarify the current demand to settle the property damage claim when the

property damage count in the damage sought the exact amount SPALDING
demanded by letter in October of 2018; and (iv) suggested that PROGRESSIVE did

not learn of SPALDING’s $9,627.52 property damage offer until GRAY read the

Complaint sometime after December 6, 2018, it is not at all surprising that PERKINS

did not accept PROGRESSIVE’s revisionist history, but instead recognized that

PROGRESSIVE had woefully mishandled the claims against BORRERO to the

extent that it made more sense to proceed to judgment on SPALDING’s claims in

order to pursue a bad faith claim for the inevitable excess judgment. See Exhibit “N”.

      55.    PROGRESSIVE manager Tammy Morgan reviewed the file with

GRAY on January 4, 2019, and acknowledged a conversation between defense

counsel EVELEV and PERKINS that confirmed that suit was filed against

BORRERO “as a result of the carrier lowballing [SPALDING] on the PD claim.”




      56.    PROGRESSIVE then turned its attention to belatedly attempting to

resolve SPALDING’s property damage count to provide cover in a subsequent bad

faith claim while ignoring the reality that BORRERO was now exposed to a multi-

million-dollar judgment due to PROGRESSIVE’s mishandling of the property

damage claim.
      57.    PERKINS and SPALDING eventually agreed to resolve the property

damage count by accepting a proposal for settlement served on behalf of BORRERO.

      58.    Notwithstanding the resolution of the property damage count during the

litigation, the bodily injury clam against BORRERO continued through the litigation

process. Shortly before a scheduled jury trial, facing the certainty of a multi-million

excess judgment, BORRERO petitioned for protection in bankruptcy pursuant to 11

USC §701, et seq.

      59.    BORRERO’s bankruptcy filing resulted in the appointment of

CHAMBERS as the Bankruptcy Trustee and the assignment to the Trustee of all non-

exempt assets of BORRERO, including the instant action.

      60.    On December 7, 2022, SPALDING filed an Emergency Motion for

Relief from Stay in BORRERO’s bankruptcy case which was granted by the

bankruptcy Judge. See Exhibit “O”.

      61.    The case against BORRERO proceeded to trial. On January 27, 2023,

the jury returned a verdict in favor of SPALDING and against BORRERO in the

amount of Seven Million Four Hundred and Ninety-One Thousand Three Hundred

and Sixty-Four and 63/100 Dollars ($7,491,364.63). See Exhibit “P”.

      62.    On April 27, 2023, the trial court entered a Final Judgment against

BORRERO in the amount of Seven Million Four Hundred and Eighteen Thousand

Three Hundred and Ninety-One and 57/100 Dollars ($7,418,391.57). The Final

Judgment provided that execution was stayed subject to further order of the

bankruptcy court. See Exhibit “Q”.
       63.    The Final Judgment remains unpaid and outstanding while continuing

to bear interest at the legal rate.

     COUNT I – COMMON LAW BAD FAITH AGAINST PROGRESSIVE
                  SELECT INSURANCE COMPANY

       64.    Given the nature of the collision and the significant bodily injuries and

property damage losses suffered by SPALDING, a reasonably prudent person faced

with the prospect of paying the full value of these claims would have settled both the

bodily injury and property damage claims within the limits of available coverage if it

had been possible to do so.

       65.    PROGRESSIVE had opportunities to settle SPALDING’s bodily injury

and property damage claims arising out of the October 1, 2018 accident against

BORRERO within the available coverages.

       66.    PROGRESSIVE correctly determined within days of the wreck that it

was a case of liability on the part of their insured coupled with catastrophic injuries to

SPALDING, including amputation of the left foot.

       67.    However, PROGRESSIVE’s decision to proactively tender its $10,000

bodily injury limits to SPALDING did not satisfy its ongoing fiduciary obligation to

act in good faith throughout the duration of the claims process.

       68.    For example, there is no evidence of ongoing efforts by PROGRESSIVE

management or in house legal counsel to ensure that ample attention and urgency were

applied to the evaluation and settlement of SPALDING’s property damage case once

the bodily injury limits were proactively tendered on October 10, 2018.
      69.    SPALDING’s letter of October 23, 2018 was a time limit settlement

demand of his property damage total loss claim. However, PROGRESSIVE failed to

calendar and diary the letter as a time demand and as a result neither management nor

claims legal were involved in the evaluation and response to SPALDING’s property

damage demand which was presented while he was pondering PROGRESSIVE’s

proactive tender of the bodily injury limits.

      70.     By arbitrarily rejecting SPALDING’s property damage demand,

PROGRESSIVE placed its own interests ahead of BORRERO’s in an effort to

accomplish the company-wide goal of minimizing total loss property damage

exposures.

      71.    Further, PROGRESSIVE did not advise BORRERO of SPALDING’s

property damage demand and its intended response to the demand. As a result,

BORRERO was not offered the opportunity to question PROGRESSIVE’s response

or personally contribute to the difference between SPALDING’s demand and

PROGRESSIVE’s intended offer.

      72.    Because of the contract and relationship between PROGRESSIVE and

BORRERO, PROGRESSIVE owed BORRERO a non-delegable fiduciary duty of

good faith with respect to the investigation, evaluation, negotiation, settlement and

defense of the claims presented against her as a result of the October 1, 2018 accident.

      73.    This fiduciary duty is akin to that between an attorney and client, and

obligated PROGRESSIVE to:
a. Act fairly and honestly and with due regard for the interests of

   BORRERO;

b. Settle all of SPALDING’s claims against BORRERO when, under all

   of the circumstances, it could have and should have done so had it

   acted fairly and honestly, and with due regard for her interests;

c. Exercise reasonable diligence and a level of care commensurate with

   the undertaking, in every aspect of handling SPALDING’s claims

   against BORRERO;

d. Adopt and implement standards for proper investigation and handling

   of liability claims, commensurate with the needs of the types of claim

   that could be reasonably anticipated to be made against an insured;

e. Properly train adjustors and claims personnel for the types of claims

   over which they would be assigned;

f. Communicate with BORRERO candidly and with integrity and keep

   her informed of the claim resolution process including the settlement

   demands and offers;

g. Fully, honestly, and promptly advise BORRERO concerning any

   settlement opportunities, of the likelihood of a recovery in excess of the

   policy limits, of the steps she might take to avoid the same, and of any

   procedures which were available to lessen the financial impact of the

   underlying claims upon BORRERO;
            h. Avoid putting PROGRESSIVE’s own interests ahead of the interests of

               BORRERO;

            i. Handle SPALDING’s claims in accordance with applicable laws,

               statutes, administrative codes, governmental and industry regulations

               that establish the obligations and standards for liability insurance

               companies handling claims, as well as PROGRESSIVE’s own policies

               for handling claims.

      74.      PROGRESSIVE breached its non-delegable fiduciary duty of good faith

owed to BORRERO by failing to settle the claims against her and otherwise acted in

bad faith by, among other things:

            a. Failing to act fairly and honestly and with due regard for the interests of

               BORRERO;

            b. Failing to settle SPALDING’s bodily injury and property damage

               claims against BORRERO when, under the circumstances, it could

               have and should have done so, had it acted fairly and honestly, and

               with due regard for the interests of BORRERO;

            c. Failing to exercise reasonable diligence and a level of care

               commensurate with the undertaking, in every aspect of handling

               SPALDING’s claims against BORRERO;

            d. Failing to adopt and implement standards for proper investigation and

               handling of liability claims, commensurate with the needs of the types
               of claim that could be reasonably anticipated to be made against an

               insured;

            e. Failing to properly train adjustors and claims personnel for the types of

               claims for which they would be assigned;

            f. Failing to communicate with BORRERO candidly and with integrity

               and keep her informed of the claim resolution process including the

               settlement demands and offers;

            g. Failing to fully, honestly, and promptly advise BORRERO concerning

               any settlement opportunities, of the likelihood of a recovery in excess of

               the policy limits, of the steps she might take to avoid the same, and of

               any procedures which were available to lessen the financial impact of

               the underlying claim upon BORRERO;

            h. Putting PROGRESSIVE’s own interests ahead of the interests of

               BORRERO;

            i. Failing to handle the bodily injury and property damage claims in

               accordance with applicable laws, statutes, administrative codes,

               governmental and industry regulations that establish the obligations and

               standards for liability insurance companies handling claims, as well as

               PROGRESSIVE’s own policies for handling claims.

      75.      As a direct, proximate, and foreseeable result of PROGRESSIVE’s

breach of its fiduciary duty of good faith, BORRERO suffered damages including entry

of an excess Final Judgment.
        76.   SPALDING’s      claims   against   BORRERO,       under   all   of    the

circumstances, could have and should have been settled within the available limits of

the available insurance coverages had PROGRESSIVE acted fairly and honestly and

with due regard for the interests of BORRERO.

        77.   As a result of the failure of Defendant, PROGRESSIVE, to protect the

interests of its insured, Plaintiff, GENE CHAMBERS, as the Chapter 7 Trustee for

the Bankruptcy Estate of ANGELA BORRERO, has been required to employ the

undersigned attorney in this proceeding and has agreed to pay a reasonable fee for

those services.

        78.   All conditions precedent to Plaintiff’s rights to bring this suit have

occurred or have been excused.

        WHEREFORE, Plaintiff, GENE CHAMBERS, CHAPTER 7 TRUSTEE

FOR THE BANKRUPTCY ESTATE OF ANGELA BORRERO, demands

judgment against PROGRESSIVE in excess of $75,000.00, including:

        1.    All unpaid and unsatisfied amounts of the Final Judgment entered
              against ANGELA BORRERO;

        2.    Accrued interest on the Final Judgment;

        3.    Consequential damages including costs of this action and attorney’s

fees.

                         DEMAND FOR TRIAL BY JURY

        Plaintiff, GENE CHAMBERS, as the Chapter 7 Trustee for the Bankruptcy

Estate of ANGELA BORRERO, demands a trial by jury on all issues so triable.
                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 21st day of June, 2024, a true and correct

copy of the foregoing document has been electronically filed by using the Clerk of

Court by using CM/ECF eFiling system which will automatically electronically

furnish a copy to: Jennifer C. Worden, Esq., Segundo Law Group, 2935 First Avenue

North, 2nd Floor, St. Petersburg, Florida 33713 (Service@CivilLit.com).

                                             DELLECKER WILSON KING
                                             McKENNA RUFFIER & SOS
                                             A Limited Liability Partnership

                                             BY: s/ Kenneth J. McKenna
                                                   Kenneth J. McKenna, Esq.
                                                   Florida Bar No. 0021024
                                                   Ryan K. Young, Esq.
                                                   Florida Bar No. 112782
                                                   719 Vassar Street
                                                   Orlando, Florida 32804
                                                   407-244-3000
                                                   KJMeservice@dwklaw.com
                                                   RKYeservice@dwklaw.com
                                                   Attorneys for Plaintiff
